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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MISSOURI
                                   EASTERN DIVISION

 ANTHONY M. HARRIS,                               )
                                                  )
               Plaintiff,                         )
                                                  )
     v.                                           )         No. 4:20-CV-800 NCC
                                                  )
 PHELPS COUNTY JAIL, et al.,                      )
                                                  )
               Defendants.                        )

                                MEMORANDUM AND ORDER

          This matter is before the Court on plaintiff Anthony Harris’s motion and affidavit for

permission to appeal in forma pauperis, filed on April 26, 2021. ECF No. 42. On April 14, 2021,

the United States Court of Appeals for the Eighth Circuit issued an Order directing plaintiff to

either pay the $505 appellate filing fee to this Court, or to file a motion for leave to proceed in

forma pauperis in the Eighth Circuit Court. ECF No. 39. The instant motion before the Court

appears to have been filed in response to the Eighth Circuit’s April 14th Order and it contains

plaintiff’s appellate case number. However, plaintiff filed the motion in this Court, rather than

with the Court of Appeals. The Court will therefore forward the motion to the United States Court

of Appeals for the Eighth Circuit, and administratively close the motion in this case.

          Accordingly,

          IT IS HEREBY ORDERED that the Clerk of Court shall FORWARD plaintiff’s motion

and affidavit for permission to appeal in forma pauperis (ECF No. 42) to the United States Court

of Appeals for the Eighth Circuit.

          IT IS FURTHER ORDERED that plaintiff’s motion and affidavit for permission to

appeal in forma pauperis (ECF No. 42) shall be ADMINISTRATIVELY CLOSED in this case.
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       SO ORDERED.




                                       __________________________________
                                       RONNIE L. WHITE
                                       UNITED STATES DISTRICT JUDGE


Dated this 12th day of May, 2021.




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